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                          Attorney for Debtor in Possession.


                                               IN THE UNITED STATES BANKRUPTCY COURT
                                                    FOR THE DISTRICT OF COLUMBIA


                           In re:
                                                                          Case No. 20-000154 ELG
                           WALTER L. PEACOCK
                                                                          Chapter 11
                                     Debtor.


                                   MOTION FOR AUTHORITY TO INCUR SECURED DEBT
                             FOR THE PURPOSE OF MODIFYING THE TERMS OF AN EXISTING SE-
                                        CURED LOAN FOR REAL PROPERTY AND
                                         NOTICE OF OPPORTUNITY TO OBJECT


                                    NOW COMES Walter Leroy Peacock, Debtor, by and through above stated coun-
                          sel, and hereby submits this Motion for Authority to Incur Secured Debt for the Purpose
                          of Modifying the Terms of an Existing Secured Loan for Real Property and Notice of Op-
                          portunity to Object. In support of this Motion, the Debtor respectfully states as follows:
                                                               Jurisdiction and Venue
                                    1.    This Court has jurisdiction over this Chapter 13 Case and this Motion pur-
                          suant to 28 U.S.C. §§ 157 and 1334. Pursuant to 28 U.S.C. § 157(b)(2), this is a core pro-
                          ceeding. Venue is proper in this District pursuant to 28 U.S.C. § 1409 because the under-
                          lying bankruptcy case is pending in this court. To the extent this Court may lack the au-


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                          thority to enter a final judgment in this matter pursuant to the holdings in Stern v. Mar-
                          shall, 564 U.S. 462, 131 S.Ct. 2594 (2011) and Wellness International Network, Ltd. v.
                          Sharif, 575 U.S. 665, 135 S. Ct. 1932 (2015), and pursuant to Rule 7008(a), Debtor con-
                          sents to this Court’s entry of a final judgment.
                                   2.   The statutory and legal predicate for the relief requested herein is 11 U.S.C.
                          § 364.
                                                                     Parties
                                   3.   Walter L. Peacock (“Mr. Peacock”) is the Debtor herein.
                                   4.   PHH Mortgage Corporation is the holder of the mortgage/deed of trust on
                          the Debtor’s property (“PHH”).
                                                                  Background
                                   5.   On the Petition Date, March 12, 2020, Mr. Peacock commenced a voluntary
                          case under Chapter 11 of the Bankruptcy Code. Confirmation of the Debtor’s Chapter 11
                          Plan is currently scheduled for February 9, 2020 at 11:00 a.m.
                                   6.   At the time of filing, Mr. Peacock had a mortgage/deed of trust (the “Mort-
                          gage”) serviced by PHH and secured by a lien on his residence at 2920 Pennsylvania Ave
                          SE, Washington DC 20020 (the “Property”).
                                   7.   Mr. Peacock wishes to modify the terms of the Mortgage, with the consent
                          of PHH, as reflected in the Loan Modification (the “Modification”) attached hereto as
                          Exhibit #1.
                                                                   Discussion
                                   1.   The amount of the proposed modified secured claim is $408,298.68, although
                          $115,547.63 shall be forgiven upon successful completion of the loan modification. Be-
                          cause of the lower amount of the monthly payment, see supra, a portion of the principal,
                          approximately $225,005.85, will be due upon the loan’s maturity date, February 1, 2036,
                          as a balloon payment.
                                   2.   The new monthly payment is $2,526.82. This amount includes real estate
                          taxes and hazard insurance to be escrowed by the holder of the modified secured claim.


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                          The monthly escrow amount is currently $1,499.80. The current monthly secured claim
                          payment (which includes escrows) is approximately $5,318.44.
                                 3.     The modified loan will have a fixed interest rate of 2.875%.
                                 4.     The loan modification will not alter or affect the status or priority of any other
                          existing lien(s) on the real property.
                                 5.     Mr. Peacock hereby advises the holder of the modified secured claim that it
                          must either file an amended proof of claim or withdraw the filed proof of claim within
                          thirty (30) days of the closing of the loan modification transaction.
                                                                   Conclusion
                                 WHEREFORE, Mr. Peacock submits that this loan modification is in the best in-
                          terest of Mr. Peacock and the creditors, and prays that the Court grant the Motion.
                          Date: February 5, 2022                             Respectfully Submitted,

                                                                             THE WEISS LAW GROUP, LLC


                                                                             By: _______/s/ Brett Weiss________
                                                                                 BRETT WEISS

                                       NOTICE OF OPPORTUNITY TO REQUEST A HEARING
                                          TO CREDITORS AND PARTIES IN INTEREST

                          You are notified of the filing of the foregoing Motion by the Debtor requesting Court au-
                          thority to incur secured debt for the purpose of modifying the terms of an existing secured
                          loan for real property. Any interested party objecting to the loan modification must file an
                          objection with the United States Bankruptcy Court for the District of Columbia within
                          twenty-one (21) days after the date of this motion. You are further notified that unless an
                          objection is filed, the Court may grant the motion without a hearing.

                                                        CERTIFICATE OF SERVICE

                                 I hereby certify that on the 5th day of February, 2022, I reviewed the Court’s
                          CM/ECF system and it reports that an electronic copy of the above pleading will be
                          served electronically by the Court’s CM/ECF system on the following:

                                 Kristen S. Eustis                   Kristen.S.Eustis@usdoj.gov
                                 Kevin Robert Feig                   bankruptcymd@mwc-law.com
                                 Oliver W. McDaniel                  oliver.mcdaniel@usdoj.gov,
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                                 U. S. Trustee for Region Four         USTPRegion04.DC.ECF@USDOJ.GOV

                                 I hereby further certify that on the 5th day of February, 2022, a copy of the
                          above pleading was also mailed first class mail, postage prepaid, to:

                          ATLAS ACQUISITIONS LLC, 492 C Cedar Lane Suite 442, Teaneck, NJ 07666
                          BWW Law Group, LLC 6003 Executive Blvd., Suite 101 Rockville, MD 20852-3813
                          Capital Bank N.A. One Church Street Rockville, MD 20850-4190
                          CW Nexus Credit Card Holdings l, LLC Resurgent Capital Services PO Box 10368 Greenville, SC
                          29603-0368
                          DC Water & Sewer Authority PO Box 97200 Washington, DC 20090-7200
                          District of Columbia Office of Tax and Revenue 1101 4th Street, SW Washington, DC 20024-4457
                          DSNB MACY S CITI BANK 1000 TECHNOLOGY DRIVE MS 777O FALLON MO 63368-2222
                          First Premier Bank PO Box 5524 Sioux Falls, SD 57117-5524
                          LVNV Funding, LLC Resurgent Capital Services PO Box 10587 Greenville, SC 29603-0587
                          Merrick Bank PO Box 5721 Hicksville, NY 11802-5721
                          MISSION LANE LLC PO BOX 105286 ATLANTA GA 30348-5286
                          PRA Receivables Management, LLC PO Box 41021, Norfolk, VA 23541-1021
                          Synchrony Bank/Amazon PO Box 965013 Orlando, FL 32896-5013
                          TD BANK NORTH NA70 GRAY ROAD FALMOUTH ME 04105-2299
                          The Bank of Missouri PO Box 105555 Atlanta, GA 30348-5555
                          Verizon Bankruptcy Department 404 Brock Dr Bloomington, IL 61701-2654
                          Walter Buzzetta, Esq. Stradey Ronon Stevens & Young, LLP 2000 K Street, Suite 700 Washington, DC
                          20006-1866

                                                                               ______/s/ Brett Weiss_______________
                                                                               BRETT WEISS




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